
366 S.W.3d 669 (2012)
In the Interest of N.D.H., A Minor Child.
No. ED 97720.
Missouri Court of Appeals, Eastern District, Division One.
May 29, 2012.
William P. Grant, St. Louis, MO, for appellant.
Chris Koster, Atty. Gen., Gary L. Gardner, Jefferson City, MO, for respondent.
Before CLIFFORD H. AHRENS, P.J., ROY L. RICHTER, J., and GARY M. GAERTNER, JR., J.

ORDER
PER CURIAM.
Nolan H. ("Father") appeals from the judgment of the trial court terminating his parental rights to N.D.H., his son, born on April 10, 2000. Father contends that the trial court erred in terminating his parental rights because its findings that several conditions of section 211.447.5 RSMo. Cum. Supp. 2007 were met were not supported by clear, cogent, and convincing evidence. Father also asserts that even if statutory grounds for termination existed, termination of his parental rights was not in the best interests of the children.
We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum opinion for their information only, setting forth the facts and reasons for this order.
The judgment of the trial court is affirmed in accordance with Rule 84.16(b).
